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STEVEN L. TISCIONE                                    DATE: 8/10/23
U.S. MAGISTRATE JUDGE                                 TOTAL TIME: 7 hours and 41 minutes

                              CIVIL CAUSE FOR JURY TRIAL

DOCKET NO.:            09-cv-1023

CASE NAME:             Gonzalez et al v. Suffolk County et al.

CT. REPORTER:          Lisa Schmid                    DPT./CLERK: Gary Dunn

INTERPRETER:                                          LANGUAGE: English


APPEARANCES:           FOR PLAINTIFF: Frederick K. Brewington and Oscar Holt

                       FOR DEFENDANT: Marc A. Lindemann

 X COUNSEL PRESENT/NOT PRESENT:

 X CASE CALLED                                PROSPECTIVE JURORS SWORN

   JURY SELECTED               ___            SELECTION ADJOURNED TO _____________

 X TRIAL BEGAN ON              7/25/23___     TRIAL ADJOURNED TO ____________

 X OTHER:

Jury began deliberations and returned verdict in favor of Plaintiffs on all counts.

Defendants shall file any post-trial motions within 90 days.




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